
989 So.2d 1164 (2008)
Ex parte Theron Glen LINDSEY
(In re City of Decatur
v.
Theron Glen Lindsey).
1061673.
Supreme Court of Alabama.
February 15, 2008.
*1165 Phillip B. Price, Sr., of Price &amp; Flowers Law Firm, P.C., Huntsville, for petitioner.
Mark B. Craig, Decatur, for respondent.
Prior report: Ala.Crim.App., 989 So.2d 1157.
STUART, Justice.
The petition for the writ of certiorari is quashed.
In quashing the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Criminal Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT QUASHED.
LYONS, SMITH, BOLIN, and MURDOCK, JJ., concur.
COBB, C.J., recuses herself.
